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                             IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF DELAWARE

                                      )
    In re:                            )                            Chapter 11
                                      )
    CENTER CITY HEALTHCARE, LLC d/b/a )                            Case No. 19-11466 (MFW)
    HAHNEMANN UNIVERSITY HOSPITAL, et )
    al.,1                             )                            Jointly Administered
                                      )
                        Debtors.      )                            Related to Docket No. 1467
                                      )

                          CERTIFICATION OF NO OBJECTION TO
                    TWENTY-FIRST OMNIBUS MOTION OF THE DEBTORS
                  FOR ENTRY OF AN ORDER AUTHORIZING THE REJECTION
               OF CERTAIN EXECUTORY CONTRACTS AND UNEXPIRED LEASES

             The undersigned counsel to the above-captioned debtors and debtors-in-possession

(collectively, the “Debtors”) hereby certifies that:

             1.          On March 12, 2020, the Twenty-First Omnibus Motion of the Debtors for Entry of

an Order Authorizing the Rejection of Certain Executory Contracts and Unexpired Leases

[Docket No. 1467] (the “Motion”)2 was filed with the Court.

             2.          Pursuant to the notice of the Motion [Docket No. 1467-1], objections to the

Motion were to be filed by March 23, 2020 at 4:00 p.m. (prevailing Eastern Time).

             3.          No objections or responses were served upon the undersigned counsel or entered

on the Court’s docket.

             4.          Accordingly, the Motion may be granted.


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             The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification
             number, are: Center City Healthcare, LLC (3341), Philadelphia Academic Health System, LLC (8681), St.
             Christopher’s Healthcare, LLC (8395), Philadelphia Academic Medical Associates, LLC (8165), HPS of
             PA, L.L.C. (1617), SCHC Pediatric Associates, L.L.C. (0527), St. Christopher’s Pediatric Urgent Care
             Center, L.L.C. (6447), SCHC Pediatric Anesthesia Associates, L.L.C. (2326), StChris Care at Northeast
             Pediatrics, L.L.C. (4056), TPS of PA, L.L.C. (4862), TPS II of PA, L.L.C. (5534), TPS III of PA, L.L.C.
             (5536), TPS IV of PA, L.L.C. (5537), and TPS V of PA, L.L.C. (5540). The Debtors’ mailing address is
             216 North Broad Street, 4th Floor, Philadelphia, Pennsylvania 19102.
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             Capitalized terms not defined herein shall have the meanings ascribed to them in the Motion.

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             WHEREFORE, the Debtors respectfully request the entry of an Order, substantially in

the form attached to the Motion and hereto as Exhibit A, at the earliest convenience of the

Court.

Dated: March 25, 2020                           SAUL EWING ARNSTEIN & LEHR LLP

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                                                Counsel for Debtors and Debtors in Possession




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